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               Exhibit B
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Article 399 – amended



The papers to be served shall be delivered to the person himself at his location, place of residence, place
of work or anywhere he is present. They may be delivered at the site chosen in the conditions stipulated
in the law if the process server does not know the person to whom the delivery is to be made, in which
case the process server may deliver the papers at the site or residence of the person to be served to an
individual who declares himself or herself to be the person to whom the delivery is intended. As for
somewhere other than the site or place of residence, he may not deliver the papers to the person to be
served until after having examined official papers which prove the person’s identity. The process server
must make reference in the notification report to the statement made by the person to whom the
papers were served, or to the manner in which the identity of the aforementioned person was proven,
as well as the number of the identification document.



In the event that the person to be served, or the person with whom a chosen domicile is kept, refuses to
receive the papers, the process server shall leave them for him, and the service will be deemed to have
been legally effected even if the person to whom the papers were delivered refused to sign the
notification report.
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                                                I


                                 CERTIFICATE OF ACCURACY



        I, Nancy Roberts, with U.S. Legal Support, Inc., declare that I have provided translation
services executed on this 11 th day of September 2021.


        Furthermore, I declare that I am a certified Arabic-English translator, and that I am
competent to translate between those two languages.


        I hereby certify that I have translated the attached documents to the best of my knowledge
and ability, and believe this translation to be a trne, accurate, and complete rendition of the original
provided to me.


File name:


Article 399 of the Lebanese Civil Procedure Code




Sincerely,




                                                                     Date 09/11/2021




             U.S. Legal Support, Inc. - Translations Services Department - 855-538-3099
                                   translations@uslegalsupport.com
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